         Case 1:23-cr-00370-JGLC Document 2 Filed 07/26/23 Page 1 of 1
                                        U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York
                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007

                                                    July 25, 2023

BY EMAIL

The Honorable Valerie Figueredo
United States Magistrate Judge
Southern District of New York
United States Courthouse
40 Foley Square
New York, NY 10007

           Re:    United States v. Joseph Lewis, et al., S1 23 Cr. 370 (___)

Dear Judge Figueredo:

       Earlier today, on July 25, 2023, your Honor signed an Order that, among other things,
unsealed Indictment 23 Cr. 370. Indictment 23 Cr. 370 charges one defendant, Joseph Lewis.

       The Government now writes to respectfully request that the Court Order that, as of 8 a.m.
on July 26, 2023, Indictment S1 23 Cr. 370 also be unsealed. Indictment S1 23 Cr. 370 charges
Lewis and two additional defendants, Patrick O’Connor and Bryan “Marty” Waugh. All three
defendants are expected to surrender to the Federal Bureau of Investigation on the morning of July
26, 2023.

                                             Respectfully submitted,

                                             DAMIAN WILLIAMS
                                             United States Attorney

                                         By: s/ Jason A. Richman
                                            Jason A. Richman / Nicolas Roos
                                            Assistant United States Attorneys
                                            (212) 637-2589

SO ORDERED:
July ___,
      26 2023

_______________________________________
THE HONORABLE VALERIE FIGUEREDO
UNITED STATES MAGISTRATE JUDGE
